Ohio Adm. Code Chapter 4121:1-5 covers "workshops and factories."  Claimant proposes that the scrapyard's perimeter fencing was a structural enclosure sufficient to classify it as a "workshop" and render Ohio Adm. Code Chapter 4121:1-5 applicable. We agree.
The fence, in this case, indeed set forth the boundaries of work activity.  It also served to keep unauthorized nonemployees out, and, in so doing, established its confines as a place accessible only to employees for the purpose of carrying out the company's business.
Accordingly, the judgment of the court of appeals is reversed, and a limited writ is granted, which returns the cause to the commission for further consideration of claimant's application.
Judgment reversed and limited writ granted.
Douglas, Resnick, F.E. Sweeney, Pfeifer and Lundberg Stratton, JJ., concur.
Moyer, C.J., and Cook, J., dissent.